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 Fill in this information to identify your case:

 Debtor 1                 Lawrence L. Perkins
                          First Name                        Middle Name               Last Name

 Debtor 2                 Linda J. Perkins
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF LOUISIANA

 Case number           20-10058
 (if known)                                                                                                               Check if this is an
                                                                                                                          amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Ascension Credit Uni                                  Surrender the property.                     No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a        Yes
    Description of       2009 GMC Sierra 90000 miles                         Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:



    Creditor's         Capital One Auto Finance                              Surrender the property.                     No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a        Yes
    Description of       2011 Buick LaCrosse 90000                           Reaffirmation Agreement.
    property             miles                                               Retain the property and [explain]:
    securing debt:



    Creditor's         Wells Fargo Home Mor                                  Surrender the property.                     No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a        Yes
    Description of       7146 Moran Rd. Gonzales, LA                         Reaffirmation Agreement.
                         70737 Ascension County
                         Tax Ass. Value Residence:

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 Debtor 1      Lawrence L. Perkins
 Debtor 2      Linda J. Perkins                                                                        Case number (if known)    20-10058

     property           $20,000/Tax Ass. Value Lot:                          Retain the property and [explain]:
     securing debt:     $1,400
                        Appraised value: $80,000
                        12/26/19
                        Debtors do not believe worth
                        $80k due being in FEMA Special
                        Hazard Area AE
                        Home required

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                               Will the lease be assumed?

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Lawrence L. Perkins                                                        X /s/ Linda J. Perkins
       Lawrence L. Perkins                                                               Linda J. Perkins
       Signature of Debtor 1                                                             Signature of Debtor 2

       Date        July 21, 2020                                                      Date    July 21, 2020




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                       page 2

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